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 1   T.S. Hartzell
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 3   Arizona State Bar # 013862
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 4   tshart@dakotacom.net
 5   Attorney for Defendant
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF ARIZONA
 8
 9   United States of America,           )
                                         )              4:21-cr-02308-DLR
10                   Plaintiff,          )
                                         )
11   vs.                                 )             FIRST MOTION TO SET
                                         )             CHANGE OF PLEA HEARING
12   Ted Earl Severeid, III,             )
                                         )
13                   Defendant.          )
                                         )
14
             It is expected that excludable delay under Title 18 U.S.C. Section 3161(h)(1)(D) may
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     occur as a result of this Motion or from an Order based thereon. Defendant Severeid, through
16
     counsel, hereby moves the Court to set this matter for a change of plea hearing, either before the
17
     assigned district court judge or a magistrate judge.
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             While this case is assigned to the Tucson Division of the Arizona District Court, Mr.
19
     Severeid is unsure what procedures apply to accepting the government’s plea offer. In Tucson,
20
     a defendant lodges both a consent to proceed before a magistrate judge and the proposed plea.
21
     Defendants, as this one, routinely give their lawyers permission to sign the plea and consent on
22
     their behalf.
23
             Here, with Phoenix jurists, Mr. Severeid is unsure of whether his attorney can sign for
24
     him and whether the Court seeks to have a consent and proposed plea lodged through the
25
     CM/ECF system. He is even unsure of whether he is to travel to Phoenix for a change of plea
26
     or it is to be done in the Tucson courthouse.
27
             Mr. Severeid moves the Court to set a change of plea hearing and provide him with
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         Case 4:21-cr-02308-DLR Document 21 Filed 08/17/22 Page 2 of 2



 1   instructions on its requirements, expectations and location.
 2                 AUSA Joseph Koehler has no objection to the requested relief.
 3          Dated August 17, 2022.
                                                                          s/ T.S. Hartzell
 4                                                                          T.S. Hartzell,
                                                                    Attorney for Ted E. Severeid, III
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